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 UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                        §
                                                §
versus                                          §    CASE NO.1:16CR74-3
                                                §
ALVIN TURNER                                    §

     MEMORANDUM ORDER ADOPTING REPORT AND RECOMMENDATION

         The Court referred this matter to the United States Magistrate Judge Keith F. Giblin for

the administration of a guilty plea hearing. Judge Giblin conducted a hearing and issued his

findings of fact and report and recommendation on the defendant’s guilty plea. The magistrate

judge recommended that the Court accept defendant’s guilty plea. He further recommended that

the Court finally adjudge defendant as guilty on Count Twenty One of the Indictment. The parties

have not objected to the magistrate judge’s findings.

         The Court accepts the findings in the report and recommendation. The Court ORDERS

that Judge Giblin’s report (#79) is adopted. The Court accepts the defendant’s guilty plea but

defers acceptance of the plea agreement and plea agreement addendum until after review of the

presentence report. It is finally ORDERED that defendant, Alvin Turner, is adjudged guilty on

Count Twenty One of the Indictment charging a violation of Title 18, United States Code, Section

1349.     .
          SIGNED at Beaumont, Texas, this 7th day of September, 2004.
          SIGNED at Beaumont, Texas, this 3rd day of March, 2017.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
